                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,

                       Plaintiff,

               v.                                                     Case No. 20-CR-96

MARTIN E. MCKEEVER,

                  Defendant.
______________________________________________________________________________

                   PRELIMINARY ORDER OF FORFEITURE
______________________________________________________________________________

       Upon the motion of the United States of America pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure, and upon the entry of the plea agreement, and in consideration of

the guilty plea to Count One of the Indictment, the defendant agreed to the forfeiture of all

properties described in the forfeiture notice of the Indictment.

       IT IS HEREBY ORDERED that all right, title and interest in the following properties are

hereby forfeited to the United States pursuant to Title 18, United States Code, Section 2253:

               1. An iPhone A1688 - FFPT9EBCHFLR;

               2. A Compaq Presario V5000 laptop with serial number CND60918VC; and

               3. A Samsung Touchscreen phone – serial number AA1F913RS, and IMEI
                  990004942508643.

       IT IS FURTHER ORDERED that the above listed items shall be seized forthwith by the

United States Marshal Service, or it’s duly authorized representative.

       IT IS FURTHER ORDERED that pursuant to Title 21, United States Code, Section

853(n)(1) the United States shall publish notice of this order and of its intent to dispose of the

properties according to law.




         Case 1:20-cr-00096-WCG Filed 11/09/20 Page 1 of 2 Document 20
      IT IS FURTHER ORDERED that the terms of this Order shall be recounted in the

defendant’s Judgment and Commitment Order.

      Dated at Green Bay, Wisconsin, this 9th day of November, 2020.



                                                 s/ William C. Griesbach
                                                 WILLIAM C. GRIESBACH
                                                 United States District Judge




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        Case 1:20-cr-00096-WCG Filed 11/09/20 Page 2 of 2 Document 20
